an ll

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 1 of 36 PagelD #:331

A

~

hom”

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JAMES J. HACKETT, ) DOCKET ED
) JUL 9
Plaintiff, ) UL 26 2n04
) .
v. ) Case No. 00C 3140
) Judge Norgle
FE
XEROX CORPORATION LONG-TERM ) / L
DISABILITY INCOME PLAN, ET AL. ) E l
) JU
Defendants, ) M, +23 004
) Cue GAEL W. dg
oS. Dig O8B,
DEFENDANTS’ RESPONSE IN OPPOSITION TO Stier oS
PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS Uy
THOMPSON COBURN LLP CHARYSH & SCHROEDER, LTD
Richard J. Pautler Michael J. Charysh
One US Bank Plaza 33 North Dearbom
St. Louis, Missouri 63101 Suite 1300
(314) 552-6000 Chicago, linois 60602
(314) 552-7000 (312) 372-8338
Attorneys for Defendants Attorneys for Health International, Inc.
Xerox Corporation Long-Term
Disability Income Plan,

Xerox Corporation

2339489
Case: 1:00-oy-081.49 Bocument #: 156 Filed: 07/23/04 Psi 2 of 36 PagelD #:332

TABLE OF CONTENTS

Page
TABLE OF AUTHORITIES ~ ii
INTRODUCTION. | 1
BACKGROUND J
5
5
6
vrecesee 9
. 7 ul 11
. AL ‘Plainti Has Provided Inadequate Documentation To Support The
| Billing Rates 13
} lai rovided Inadequate Documentation To Support The Amount
I Fees ee oa 16 -
) 1 17
19
20
22
22
om 24 ©
4 The Complaint 24
C Service and Summons 25
A a Discovery 25
a Summary Judgment 26
nt costs... oe soe 26
CONCLUSION .. “ 29
2339489 ee a -i-

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 3 of 36 PagelD #:333

2339489 -ii-

a a“
TABLE OF AUTHORITIES
CASES
Page

Supreme Court

‘ Hensley v. Eckerhart, 461 U.S. A2A (1983) nc esevesseecssscrseccesssserscenecessenessssecssnenseseneatenstaceaecnens 11,19
Pierce v. Underwood, 487 U.S. 552 (1988)... ssessesscessensessrsesesssscesrtenrtsensasesesssessereesees gestenestees 8
Court of Appeals
Agreendano v: Mutual of Omaha Co., 75 F.3d.541 (9th Cir. 1995)... eeesesecceseseasenectecerens 25
Bittner v. Sadoff & Rudoy Inds., 728 F.2d 820 (7th Cir, 1984) oe ccceccscseneeenecnseneeseeoretenees 5
Cooper v. Casey, 97 F.3d 914 (7th Cir. 1996). ..eeccsceseees asroseansenecssoursscsacenteuncnennsonsstnetneranenuenncenssees 13
Filipowicz v. American Stores Benefit Plans Comm., 56 F.3d 807 (7th Cir. 1995)... eee 4
Hackett v. Xerox Corp. Long-Term Disability Income, 315 F.3d 771 (7th Cir.

2003) o...seseeseesees sesesssonestnsensuscvstpeercecacseunessussassenreusesenssarsussensntossneavatsrastenespestenseestoensaressesses 2,6
Haroco v. American Nat’! Bank & Trust of Chicago, 38 F.3d 1429 (7th Cir. 1994).........00 weve 27
Harper v. City of Chicago Heights, 223 F.3d 593 (7th Cir. 2000) .............:csscsceccsssteovssesesseserezeess 16
Holland v. Valhi, Inc., 22 F.3d 968 (10th Cir, 1994)... ssssssssscssssssersnsessssensenecsssssessessnuenseneay 25
Hooper v. Demeo, Inc., 37 F.3d 287 (7th Cir. 1994) .sssucssstststtivetetnenieenienetntntenmeense 5
Keifel vy. Las Vegas Hacienda, Inc, 404 F.2d 1163 (7th Cir. 1968) 00... esecccsssesscetsesceene a 28
Mathur v. Board of Trs. of S. Til. Univ., 317 F.3d 738 (7th Cir. 2003)... eeceessecesecceserseteeeseeee 11
Meredith v. Navistar Intern. Transp. Corp., 935 F.2d 124 (7th Cir. 1991)... ecssssesssssseesscscons 5
Moran v. Rush Prudential HMO, Inc., 230 F.3d 973 (7th Cir. 2000)......cssessncessscevessesstecesenseness 9
Moriarty v. Svec, 233 F.3d 955 (7th Cir. 2001) ooo eseecessnscerssecessnsnseseesstessevensuscseacaeatnessess 19
Northbrook Excess & Surplus Ins. Co. v. Proter & Gamble Co,, 924 F.2d 633 (7th

Cir, 1991)... essesccssscssercseosesscssessesassnascssenssessasseesnssseseorssacsecssccussaserssenseeassessearsuerseersesrsses 26
People Who Care v. Rockford Bd. of Educ. Sch .Dist., No. 205, 90 F.3d 1307 (7th

Cir, 1996) ..n.cccesscessssccsssscnssscesscessersessensasacsescsenstessesessectacssacprersestenssescesensatseseateseseararerersses 13
a

dM

i

- saa

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page-4 of 36 PagelD #:334

a
_ Production & Maint. Employees’ Local 504, Laborers’ Int’l Union v. Roadmaster

Corp., 954 F.2d 1397 (7th Cir. 1992) vce cssscsssonssscssesgnasseerntscssesseeenscsnsertensessaretesacsssneseres 7
Quinn v. Blue Cross & Blue Shield Ass’n, 161 F.3d 472 (7th 1998)... cccessescesssssssnsoers 4,5,7,8 |
Trustmark Life, Ins. Co. v. Univ. of Chicago Hosp., 207 F.3d 876 (7th Cir. 2000) ..........4....0+. 6,8 .
Uphoffv. Elegant Bath, Ltd., 176 F.3d 399 (7th Cir, 1999) ecesesecnesssssscssnessnsssesssersesesesserees 25
Wahl v. Carrier Mfg, 511 F.2d 209 (7th Cir, 1975) .ssscsssssssssssssssssssssessserssessees jesssseveesvenecsnaveseeeees 28
District Court
Abbott vy. Village of Winthrop Harbor, 1999 WL675292, at *4 (N.D. Ill. Aug. 29, ve

©1999) eceesecsscrcnsescsserssssesseesecsesnerssesscesseoasssssscennocssansesdsssssasssnssaeseensneusedsnsseetssensaseatinese 17,19.
Bennett v. Smith, 2002 WL 169323, at *5 (N.D. Ill. Feb. 1, 2002) ................. devenenecsesncoasenece 19, 20
Cristanchg v. National Broad. Co., 117 F.R.D. 609 (N.D. Ill. 1987)............... Seateseaseeneontensers 18, 19
Hackett v. Xerox Corp. Long Term Disability Income Plan, 177 F. Supp. 2d 803 3

(NLD. TLL. 2001)... csessesssecesecesesnsncessseesseseasaeesencassescenseeaesenneneassonseseaessetnesesneses 1, 2, 5, 10
Harkin v. Riverboat Serv., Inc., 286 F. Supp. 2d 976 (N.D. TIL. 2003)... ce eccsesseccesetensenneesee 27
In re Chicago Lutheran Hosp. Assoc., 89 B.R. 719 (Bankr. N.D. IIL. 1988)... ee eetceteneeers 19
Independence Tube Co. v. Copperweld Corp,, 543 F. Supp. 706 (N.D. Ill. 1982) 00. eens 26
JMS Dev. Co. v, Bulk Petroleum Corp., 2002 WL 31101664, at *3 (N.D. II Sept.

19, 2002) ......eesscscsseessescesessecensnscserennsasessesssecsseseensonsocssssenessseecsqnssaatansqnssesatssoseatscnaesoesaenes 18
Kinney v. Federal Sec., Inc., 2002 WL 31017644, at *6 n. 6 (N.D. Ill. Sept. 9, .

© 2002) oo. eeeeesesescsseseeestsceectersscaesccaterscensevsessecearaesracsesessecdsenenarssscecesensstssnesacnrersseonatsennssasegtesse 18
Litchey v. Hartigan, 1991 WL 96435 at *4 (N_D. II]. May 31, 1991)... csssssesssssseretsseeerecrrede 16
Max M. v. Illinois State Bd. of Educ., 684 F.Supp. 514 (ND. Ill. 1988)......ssesseeseteee secenscenenses 16
McClain v. Owens-Corning Fiberglass Corp., 1663 WL 650524, at *5 (N.D. Il.

1996) ....cccscsccscsseosscsserssssesecocessesssassnsussvesecassszevadvenssornsnccnsseessnesenusdenseussonessengurnnenseasessesseesets 26
Pearson v. Edgar, 1999 WL 169415, at *3 (ND. Tl. Mar. 22, 1999)... cssssensesssccnseseeserenes 23
Purnell v. Kovitz Shifrin & Waitzman, 1996 WL 521401 (ND. Hl. 1996) ..0..---eseeseecscstsstssetees 24
Riter v. Moss & Bloomberg, Ltd., 2000 WL 1433867 (N.D. Ill. Sept. 26, 2000) sessrstrcttee 24
2339489 - iii - |
al

alll

Case: 1:00-cv-031¢ ‘lad: oe
cv-03140 Document #: 156 Filed: 07/23/04 gaa e 5 of 36 PagelD #:335

Schnuckel v. The Prudential Ins. Co. of Am., 2003 WL 21877632 at *1 (N.D. Ill.

AUB, 7, 2003) .vninvnieeneeeenrtnnnsnnsrtennennennnnmeimninnannnnnennrnearneiie 14, 25

Spegon y. Catholic Bishop of Chicago, 989 F.Supp. O84 (ND. IIL 1998)......--secssevereeneessees passim

Stark v. PPM Am., Inc., 2003 WL 21223268, at *5 (NLD. Ill. May 23, 2003).-...-----scsesseeeees 16, 28

Sullivan v. Gill, 2000 WL 263726, at *2 (N.D. Ill. Feb. 28, 2000)........-sscecssrcrseesesesees veseeatseveees 23

. STATUTES

Statutes

YB US.C. § 1920 sesssssessscsseessnsserernsnsssen seoceenvauas/ancereenqnvunesseneenensnacrecconsamantereseeneteceti usssesneeuen 25

39 US.C. § 1001 et Seqessstecscseieststineeanctntntnennnenenaaeenrntanannnnnntnnaneerncinttie 1, 4, 25

LOCAL RULES & FEDERAL RULES OF CIVIL PROCEDURE

Local Rule 54.3 snssscvscvuvssestieueensetnsnnianenanntinnneestnennaetcrnentanisennntnegreneraerte ii 3,4
Rule 54(d)(1) of the Federal Rules of Civil Procedure......css.ssssssossssssserssscsnsecsesnssecssecrsseensnennnenennes 25
2339489 -iv-

am

i

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page.6 of 36 PagelD #:336

~

INTRODUCTION

COME NOW Defendants Xerox Corporation Long-Term Disability Income Plan and

Xerox Corporation (“Xerox”) and Health International, Inc., (“HI) and hereby oppose Plaintiff's

motion for attomeys’ fees and costs in the above-captioned litigation. Plaintiff is requesting
$449,644.25 in fees, while the Xerox Defendants incurred $85,659.50 in fees and HI spent orily
$21,100.00, including the appeal, for the same relevant time period. The Court should deny
Plaintiff's request for fees because under the applicable standard he is not entitled to fees.
Plaintiff cannot meet his burden to establish that fees are warranted in this case. In addition,
Defendants oppose Plaintiff's fee petition because Plaintiff's documentation is inconsistent and

woefully inadequate to support the amount of fees he is requesting. Moreover, Plaintiff has

_ demanded that he be reimbursed for fees and expenses that are not recoverable, F inally, the

amount of fees Plaintiff is requesting in his fee petition is entirely unreasonable for a case:of this
nature. Accordingly, the Court should deny or at the least significantly reduce Plaintiff? s request
for attorneys’ fees and costs.

BACKGROUND

Plaintiff brought a six-count complaint against the Defendants alleging violations
under the Employee Retirement Security Income Act (“ERISA”), 29 U.S.C. § 1001 et seq.,
stemming from the termination of long-term disability benefits. As the Court is well-aware, in
addition to challenging the termination of his benefits, Plaintiff contested issues such as the
applicable scope of discovery, the binding effect of the Social Security proceedings, the standard
of review, and the adequacy of the administrative record, and what were the actual Plan
documents. Plaintiff also claimed that Defendants breached their fiduciary duties and failed to
provide him with documents in a timely manner. The Defendants and the Court spent a great

deal of time wrangling with Plaintiff's meritless contentions, and in the end, Defendants

2339489 , -l-
ae

all

alll

Case: 1:00-cv-03140*Document #: 156 Filed: 07/23/04 Page 7 of 36 PagelD #:337

a

prevailed on all of these issues. In fact, this Court granted Defendants’ motion summary

judgment and denied Plaintiff's cross-motion for summary judgment. The Court ruled in the

Defendants’ favor and found:

2339489

. Judicial estoppel, based on Defendants’ role in assisting Plaintiffs receipt of Social

Security benefits, had no application to the dispute because Defendants were not parties
to the previous action. Hackett v. Xerox Corp. Long Term Disability Income Plan, 177
F. Supp. 2d 803, 808 (N.D. Ill. 2001). Furthermore, several years had passed and

circumstances had changed, and therefore the Defendants’ actions were not inconsistent

with their actions in the Social Security proceedings. Id, The Court found there was “no

authoritative support” for Plaintiff's argument supporting judicial estoppel. Id.

- Plaintiff's benefits did not vest in 1987. According to the Court, it was “obvious” that the

1987 document upon which Plaintiff based his argument was not the LTD plan, but rather
a personnel manual. Id. at 813. Moreover, contrary to Plaintiff's position (which were
based on “unsupported inferences”), the Defendants never admitted that the 1987
document was the governing plan. Id. at 814.

Plaintiff? s claim accrued in 1999 when his benefits were denied. Id. at 813.

The 1996 Plan was the controlling plan, and it contained language that provided for an

arbitrary and capricious standard of review. Id. at 815.

Plaintiff received a “full and fair review.” Based on the opinions of two medical doctors,
HI reasonably determined that Plaintiff was no longer disabled Id. at 816. The Court
further found that Plaintiff's numerous arguments that attempted to undermine the
disability determination were unpersuasive. Id. (“[Plaintiff] is unable to marshal any

argument that persuades the court that HI’s decision was unreasonable.”)

The administrative record was adequate, and there was no authority to support Plaintiff s
notion that ERISA “mandates specific record requirements. ” Td. at 824

Despite Plaintiff's arguments to the contrary, the Service Agreement was not
incorporated into the Plan. But in any event, HI complied with the Service Agreement
and provided Plaintiff with the appropriate appeals process. Id. at 825,

Plaintiff presented no evidence that he suffered any prejudice due to the Defendants’
delay in producing Plan documents. Accordingly, the Court declined to award any. .
amount in penalties (Plaintiff had requested $168,000 at a minimum, and $443,000 as the

. Maximum in penalties). Id. at 825.

HI had no “inherent” conflict of interest. Id, at 827. Plaintiff’s “conjecture” that a
conflict existed fell “well short of convincing the court that an actual conflict exists,” Id.
oll

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 8 of 36 PagelD #:338

e Plaintiff was not entitled to proceed with his breach of fiduciary duty claim against
Xerox, because he had an adequate remedy at law. Id. at 829 (“[Plaintiff] failed to
demonstrate, or even discuss, that there is not an adequate remedy at law.”)

Plaintiff appealed the summary judgment decision, and on January 6, 2003, the Seventh

Circuit affirmed in part and reversed in part. Contrary to this Court’s findings, the Seventh

~ Circuit held that the termination of Plaintiff? s benefits was the result of arbitrary and capricious

procedures, in that the reasoning behind the decision to.terminate benefits was not adequately
articulated. Hackett v. Xerox Corp . Long-Term Disability Income, 315 F.3d 771, 776 (7th Cir.
2003). Significantly, the Seventh Circuit did not find that Plaintiff was disabled. Id. at 777
(“nothing in this opinion should be read as expressing an opinion that [Plaintiffs] benefits
should not be terminated in the future.”) On all other points, Plaintiff either failed to appeal from
this Court’s ruling or the appellate court agreed with this Court. For example, the Seventh
Circuit found Plaintiff’s claim did not vest until 1999, that the 1996 Plan controlled, and that it
provided the requisite authority for an arbitrary and capricious standard of review. Id. at 774.
The Seventh Circuit remanded the case with instructions that Defendants were to retroactively to
reinstate Plaintiff's benefits.

A certified copy of the Mandate with an attached copy of the opinion was filed with this
Court on January 28, 2003. After the mandate was issued and without action by the Court,
Defendant paid Plaintiff $91,169.15 in back benefits and reinstated him on the Plan.

Following the issuing of the Mandate and over the course of 12 months, Defendants
received various documents from Plaintiff that were relevant to fees.' The documentation,

however, was inadequate. The documentation showed inconsistent amounts that were billed,

\ Pursuant to Local Rule 54.3, the Xerox Defendants provided Plaintiff with their billing
information in March 2003. Defendants’ billing information is attached hereto as Exhibit 1.

2339489 -~3-
in

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 9 of 36 PagelD #:339

much of it only contained summaries without narratives, many of the entries were block-billed or
vague, and there was no evidence of expenses or costs. On at least four separate occasions
Defendants requested that Plaintiff provide more specific information.

On April 2, 2004, in compliance with Local Rule 54.3, Defendants wrote Plaintiff's
counsel a letter detailing their objections to Plaintiff's documentation and fee request. A copy of.
this letter, with exhibits, is found under Tab B of Plaintiff's Motion. On April 15, 2004, Plaintiff

filed the present motion for fees and costs that is currently before the Court. Defendants

_ objected to the timeliness of the motion and argued that the under the Local Rules, Plaintiff's

motion was filed months out of time. The Court denied Defendants’ motions to strike and

agreed to consider Plaintiff's motion for fees and costs .

Plaintiff requests that he be awarded $449,644.25 in attorneys’ fees and $20,461.96 in
costs and disbursements. Defendants will address Plaintiff’s petition in three parts. First,
Defendants will show that Plaintiff has not established that he is entitled to fees. Defendants’
defense of this suit was not frivolous or undertaken to harass Plaintiff, and therefore, under
Seventh Circuit law, Plaintiff is not entitled to an award of fees. In the event the Court
determines Plaintiff is entitled to fees (which it should not), the amount Plaintiff has requested
should be significantly reduced. In the second part of this brief, Defendants will address the
amount of attomeys’ fees Plaintiff has requested and Plaintiff's documentation (or lack thereof).
Defendants will show why $449,644.25 in fees is patently unreasonably and not adequately

documented. Finally, in the third section of the brief the Defendants will address costs.

2339489 -4-
~ al

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 10 of 36 PagelD #:340
~ a

I. PLAINTIFF HAS NOT ESTABLISHED THAT HE IS ENTITLED TO FEES

UNDER ERISA

A Relevant Law

Attorneys’ fees and costs under ERISA are by no means automatic. The statute vests
courts with the discretion to award reasonable fees and costs.” 29 U.S.C. § 1132(g)(1). In the
Seventh Circuit, two tests have been applied to determine whether a prevailing party deserves an
award of attorneys’ fees. Quinn v. Blue Cross & Blue Shield Ass’n, 161 F.3d 472, 478 (7th Cir.
1998). The first test involves the application of five factors: (1) the degree of the offending
parties’ culpability or bad faith; (2) the degree of the ability of the offending parties to satisfy an
award of attorneys’ fees; (3) whether an award of attorneys’ fees would have a future deterrent
effect on other persons acting under similar circumstances; (4) whether the parties requesting
attorneys” fees sought to benefit all participants and beneficiaries of a plan; and (5) the relative.

merits of the parties’ positions. Id, (citing to Filipowicz v. American Stores Benefit Plans

Comm., 56 F.3d 807, 816 (7th Cir. 1995)). Under the second test, the district court is to examine
whether the losing parties’ position was “substantially justified.” Id. (citing to Bittner v.

Sadoff & Rudoy Inds., 728 F.2d 820, 830 (7th Cir. 1984)). To be “substantially justified,” the

losing party’s position needs to be “more than merely not frivolous, but less than meritorious.”
Id, The Seventh Circuit has stated that both tests ask essentially the same question: “was the

losing party’s position substantially justified and taken in good faith, or was that party simply out

to harass its opponent.” Id. (citing to Hooper v. Demco, Inc., 37 F.3d 287, 294 (7th Cir. 1994);

Meredith y. Navistar Intern. Transp. Corp., 935 F.2d 124, 128 (7th Cir. 1991)). Under the facts

2 Section 502(g) of ERISA, (29 U.S.C. § 1132(g)) provides: “In any action under this
subchapter ... by a participant, beneficiary, or fiduciary, the court in its discretion may allow a
reasonable attomey’s fees and costs of action to either party.” .

2339489 . -~5-
alll vail irs etal

SS ill

Case: 1:00-cv-03140 Dogument #: 156 Filed: 07/23/04 Page 11 of 36 PagelD #:341

of this case, it is clear that the Xerox Defendants litigated in good faith and they did not defend
this litigation in order to harass Plaintiff.

B. Defendants’ Position Was Substantially Justified

Plaintiff filed a six-count complaint against Defendants seeking hundreds of thousands of
dollars in damages. In December 2002, this Court ruled in Defendants’ favor on all counts. In
granting Defendants summary judgment, the Court ruled contrary of Plaintiff’s positions and
found (1) judicial estoppel did not apply, (2) the 1996 Plan documents controlled, (3) an arbitrary
and capricious standard of review should be employed, (4) the 1987 employment policy was not
the Plan but an employment manual and the document did not vest rights in Plaintiff, (5) the
service agreement was not part of the Plan, (6) Plaintiff was not prejudiced nor entitled to
statutory penalties for the delay in providing plan documents, (7) HI was not acting under a
conflict of interest, (8) Plaintiff was barred from bringing a claim for breach of fiduciary duties,

(9) Plaintiff had received a full and fair review, and the decision to terminate benefits was

reasonable. Hackett v. Xerox, 177 F. Supp. 2d at 803. Earlier in the litigation, the Court also
denied Plaintiff's motion to strike affidavits and to take discovery outside the administrative
record. Plaintiff did not appeal all of these issues, but in regard to the issues he did appeal, the
Seventh Circuit agreed with all of this Court’s findings save one — it found that reasoning behind
the decision to terminate benefits was not adequately documented, and therefore the termination

procedures were arbitrary and capricious. Hackett y. Xerox, 315 F.3d at 776. -

From the record it is clear that the positions Defendants took in this ligation were
justified with a solid foundation in law. It was Plaintiff who took extreme positions on certain
issues with no basis of authority. Plaintiff was unwavering in pursuit of his claims, including a

demand that he be awarded over as much as $443,000 in statutory penalties. Defendants had no

2339489 -6-
Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 12 of 36 PagelD #:342

a

choice but to defend the lawsuit. Defendants did not defend the suit in order to harass Plaintiff,
but rather because Defendants needed to protect their interests and the interests of the other plan
participants, and they believed their positions were meritorious. In fact, this Court agreed and
granted Defendants summary judgment on all counts. Plaintiff did not even challenge on appeal
this Court’s ruling on the issue of statutory penalties.

On appeal, the Seventh Circuit did not find that the decision to terminate Plaintiff's
benefits was incorrect or that Plaintiff was indeed disabled, but rather, the court held that the
denial was not adequately documented. As the course of this litigation suggests, reasonable
people disagreed as to the propriety or lawfulness of the denial of Plaintiff's benefits. This Court
found the denial was not arbitrary, and that Plaintiff received a full and fair review, which is

evidence that Defendants’ positions were reasonable and defense of this suit was substantially

justified. Trustmark Life, Ins. Co. v. Univ. of Chicago Hosp., 207 F.3d 876, 884-85 (7th Cir.
2000) (finding the losing party’s was “substantially justified in pursuing the action” given that
the lower court had ruled in its favor). Accordingly, there is no evidence, that Defendants
pursued the defense of this litigation to harass Plaintiff and “for no good reason.” Production &

Maint. Employees’ Local 504, Laborers’ Int] Union v. Roadmaster Corp., 954 F.2d 1397, 1405

(7th Cir. 1992), Therefore, applying Seventh Circuit law, Plaintiff cannot establish that he is
entitled to an award of attorneys” fees.

Plaintiff's sole support for the contention that he is entitled to fees is his own assertion
that Defendants’ position was not substantially justified because the Seventh Circuit found that
the termination procedures were arbitrary and capricious. See Plaintiff's Memorandum at 4.
Plaintiff's position is untenable and without support. First, Plaintiff has provided no authority

for the notion that a Plaintiff is entitled to fees if the Court finds that the plan administrator

2339489 -7-
_i

Case: 1:00-cv-08140 Bgrument #: 156 Filed: 07/23/04 PoC aml” of 36 PagelD #:343

abused his or her discretion in the denial of benefits. Second, it is clear under ERISA that
prevailing parties are not automatically entitled to fees. But if one were to apply Plaintiff's logic,
a prevailing plaintiff would be entitled to fees automatically whenever a court reversed a denial
of benefits.

Plaintiff has misconstrued the fee standard. A finding that the benefits determination was

- arbitrary and capricious is not equivalent to a finding that the defense of the suit was not

substantially justified. In fact, in Quinn, a decision frequently cited for ERISA’s fee standard,
the Seventh Circuit found that the plan administrator acted arbitrarily and capriciously in

determining that plaintiff was not disabled, but that the plaintiff was not entitled to an award of

attorneys’ fees. 161 F.3d 472, 479.

More importantly, the facts of Quinn are nearly identical to the facts of the present case.

In Quinn, like here, the Seventh Circuit found fault in the decision-making processes not the

actual disability determination Id. at 476 (“[w]e emphasize, however, that we neither determine

whether [the plaintiff] is disabled, nor whether [the plan administrator’s] decision was incorrect,

_ rather only that she denied [plaintiff's] benefits in an arbitrary and capricious manner.”) The

plan administrator in Quinn had relied on the medical opinions of two doctors (just like the plan _

- administrator here) and found that the plaintiff was not disabled because she was capable of

performing other jobs within her salary level. Id. at 479. The Seventh Circuit found that the
decision was arbitrary and capricious because the plan administrator did not engage in a
reasonable vocational inquiry. Id, But the Seventh Circuit then reversed the district court’s
award of fees. The court found that the defendant’s position was not wholly unjustified nor had
the defendant acted in bad faith. The court emphasized that the plan administrator had relied on

the opinion of medical doctors, and therefore, an award of attorneys’ fees was not warranted. Id,

2339489 -§-

toca

a alll

dll

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 14 of 36 PagelD #:344

~

(“while {the disability] determination may have been arbitrary and capricious, it does not
necessarily follow that it was wholly unjustified or made in bad faith.”)

Although the Seventh Circuit ultimately found that the termination of Plaintiff's benefits
was the result of arbitrary and capricious procedures in the present case, there is no evidence that
Defendants acted in bad faith or took positions that were not substantially justified. Like the
plan administrator in Quinn, HI relied on the opinions of two doctors and found Plaintiff was no
longer disabled. The flaw was in the process, not the determination.

Reasonable people can disagree as to whether a disability decision or termination
procedures were arbitrary and capricious. This Court performed a detailed analysis of the -

disability determination and found that the termination of Plaintiff's benefits was not arbitrary

and capricious. As Plaintiff himself states, “a party’s position is substantially justified when it is

‘justified to a degree that could satisfy a reasonable person.’” See Plaintiff's Memorandum at 2

(citing to Trustmark, 207 F.3d at 884; Pierce v. Underwood, 487 U.S. 552, 65 (1988)). Without

a doubt, defense of this suit was reasonable and substantially justified. Therefore, under binding

’ Seventh Circuit law, Plaintiff's claim for fees should be denied.

Cc Fundamental Fairness and Equity Do Not Warrant an Award of Fees
Plaintiff argues that fundamental fairness and equity require an award of fees because he
was a prevailing participant, and ERISA was designed to protect the interests of participants.
Plaintiff's argument again misses the mark. Under the Plaintiff’s view, all prevailing
participants would be entitled to fees. But this reasoning does not comport with ERISA fees’
provision, which is discretionary, not mandatory. Furthermore, the statute provides that fees
may be awarded to either party, not only participants. Defendants do not dispute that ERISA

was designed to promote and protect the interests of participants, but the drafters of ERISA also

2339489 -9-
ll sactiualll a

. ll

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 15 of 36 PagelD #:345

a

intended that the statute would strike a balance by keeping costs down so that employers would

_ continue to offer their employees benefits. Moran v. Rush Prudential HMO, Inc., 230 F.3d 973

_ (7th Cir. 2000). Awarding attorneys’ to all participants who prevail in litigation would escalate

the costs of providing employee benefits, which is contrary to the purpose of ERISA.3
Plaintiff has provided no justification to support an award of fees, aside from the claim
that he is entitled to fees because he succeeded on one claim. If one applies the five-factor test of .
Filipowicz to the facts of the case (which Plaintiff failed even to address), it is obvious that an -
award of fees is not warranted. 65 F.3d 816. There is no evidence that Defendants litigated this
case in bad faith. In fact, this factor weighs against Plaintiff, who pursued claims and issues that
were patently without merit or support. Defendants are entities with the assets to cover an award
of fees, but an extremely large award of attorneys’ fees would increase the costs of providing
benefits for other plan participants. In addition, Plaintiff has the resources to pay for his own
fees. There is evidence that Plaintiff is a person of some means, as he paid more than $262,000
in attorneys’ fees pursuing the $90,000 claim. See Exhibit 2 attached hereto. An award of
attorneys? fees in this case would have no future deterrent effect, especially in regard to the
Xerox that sponsored the Plan. In fact, it may provide incentive for unscrupulous plaintiffs —

attorneys to refuse to settle suits or to pursue frivolous claims. Spegon, 989 F. Supp. at 988.

3 Plaintiff asserts that fee awards “provide the only incentive for ERISA plan

administrators to pay ERISA claims.” See Plaintiff's Memorandum at 5. On the contrary, plan
administrators pay valid ERISA claims because they are required to do so. Furthermore, paying
valid claims makes good business sense and fosters goodwill. A more accurate description of the
situation is that attorneys” fees provide incentives for plaintiffs lawyers to pursue meritless
claims or to withhold settling claims that should be settled in order collect “Teasonable” fees.
Spegon v. Catholic Bishop of Chicago, 989 F.Supp. 984, 988 (N.D. Ill. 1998) (“all too frequently
... the only obstacle standing in the way of a settlement . . . is the Plaintiff's lawyer and his _-
unreasonable demand for fees.”)

2339489 -10-
_ fl

Case: 1:00-cv-03140 Decument #: 156 Filed: 07/23/04 Page 16 of 36 PagelD #:346

te

Plaintiff did not pursue this litigation for the benefits of all participants, but rather he sought
benefits solely for himself. Finally, Defendants prevailed on the majority of the issues.
Defendants lost only on the documentation of the decision to terminate benefits. In sum, the
five-factors weigh against an award of fees, and Plaintiff has offer to other valid justification for
an award of fees.

When one steps back and looks at the big picture, it is evident that Plaintiff should not
receive an award of fees. Looking through the parties’ briefs and the memoranda from this
Court, it was Plaintiff who took extreme positions without solid foundation. He raised issues and

took positions that were contrary to clearly established under ERISA law or that had no basis of

authority. See Hackett v. Xerox, 177 F. Supp. 2d at 808, 813-14, 816, 824, 827, 829 (Plaintiff's

positions had “no authoritative support,” were based on “unsupported inferences” and
“conjecture,” and he “failed to demonstrative, or even discuss” the relevant law). The
Defendants devoted hours opposing Plaintiff's meritless and sometimes frivolous positions, and
the Court wasted time addressing these groundless issues as well. In Defendants’ estimation, it
was Plaintiff who harassed and attempted to wear down Defendants with needless arguments and
meritless claims. The entire litigation could have been streamlined and settlement might have
been feasible had Plaintiff not raised baseless issues and claims that consumed so much of the
Defendants’ and the Court’s time. For all the above reasons, the Court should deny Plaintiff's
motion for attorneys’ fees and costs in its entirety.
Y IN THE EVENT THE COURT DETERMINES PLAINTIFF IS ENTITLED TO
AN AWARD OF FEES AND COSTS, THE:-AMOUNT OF FEES AND COSTS
SHOULD BE SIGNIFICANTLY REDUCED

In determining the amount of attorney’s fees and costs to award, the burden is on the

party seeking the award to sufficiently document and substantiate the hours worked.and the rates " -

2339489 -il-
Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 17 of 36 PagelD #:347

a“ ~

claimed. The starting point for calculating fees is the calculation of the “lodestar figure.”

Hensley v. Eckerhart, 461 U.S. 424, 433 (1983); Mathur v. Board of Trs. of §. Ill. Univ., 317

F.3d 738, 742 (7th Cir. 2003). The lodestar is the product of an attorney’s reasonable hourly rate

‘by the number of hours reasonably expended. Hensley, 461 U.S. at 434. The Court must

exclude from this calculation hours that are not well documented or were not “reasonably.

expended” on the litigation. Id, “Hours are not reasonably expended if they are excessive,

‘redundant, or otherwise unnecessary.” Id. In addition, the Court should reduce the number of .

hours claimed by the number of hours spent litigating unsuccessful claims. 1d, at 434-435;
Spegon v. Catholic Bishop of Chicago, 175 F.3d 544, 550 (7th Cir. 1999). District courts should
“winnow| ]the hours actually expended down to the hours reasonably expended.” Spegon, 175
F.3d at 552.

In order for the Court to engage in the proper analysis, the party seeking fees must

present adequate documentation. Plaintiff has requested $449,644.25 in fees and $20,461.96 in.

costs. In support of this request, Plaintiff has supplied documentation that is vague, does not

separate time entries, and is riddled with inconsistencies. Plaintiff provided the Court with the

following documentation:

1. “Summary of Charges” for Gardner, Carton & Douglas. See Tab A of Plaintiffs
- Motion. The Summary lists the attorneys who worked on the case, 4 the amount of
hours they billed, and the fees they incurred from August 1999 through
September 2002. The “Grand Total” for this summary amounts to $459, 479.25,

2. “Billing and Payment History” from Gardner, Carton & Douglas dated
December 22, 2003. See Tab 2 of Plaintiff's Motion. The document lists fees,
disbursements, and payments from March 3, 1990 through February 10, 2003.
There are no descriptions of the work performed. The document indicates that. -

4 According to Plaintiff, attorneys who billed less than $2,500 were “grantousl
eliminated.”

2339489 -12-
Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 18 of 36 PagelD #:348

A.

a oe x

during this time-span, Gardner, Carton & Douglas billed Plaintiff for $334,785.93.
in fees and $20,097.91 in disbursements.

Two spreadsheets from Gardner, Carton & Douglas covering August 25, 1999
through September 30, 2002. See Tab 2 of Plaintiffs Motion. The first
spreadsheet totals $285,858.08 and the second totals $29,115.00. Added together,

_the grand total for these two spreadsheets amounts to $314,973.08 in fees. The

documents provide the date the work was performed, descriptions of the work, the
name of the relevant timekeeper, the number of hours worked, and the amount
billed.

Summaries of the invoices for Gardner, Carton & Douglas. See Tab 2 of
Plaintiff's Motion.

Invoices from Gardner, Carton & Douglas dating from October 1999 through
August 2002. See Tab 2 of Plaintiff's Motion. The invoices include attomeys’
fees as well as disbursements. Many of the invoices are missing pages. Attached
to the invoices are what appear to be pre-bills.

“Pre-bill Worksheet” from Daley, DeBofsky & Bryant dated March 3, 2003. See
Tab 3 of Plaintiff's Motion. The worksheet contained narrative time-entries and
totals $35,132.50 in fees.

Ledger Information dated April 14, 2004, from Daley, DeBofsky & Bryant,
showing 27.25 hours and $14,931.66 in fees. See Tab 3 of Plaintiff's Motion.

Bill of Costs from Seventh Circuit totaling $1,119.15. See Tab 4 of Plaintiff's
Motion.

Declaration of Mark Furlane. See Tab 5 of Plaintiff's Motion.
Declaration of Mark D. DeBofsky. See Tab 6 of Plaintiffs Motion.

Declaration of Mary Elien Signovilie, an attorney from Washington D.C. See
Tab 7 of Plaintiff's Motion.

Declaration of Ronald Dean, and attomey from California See Tab 8 of

Plaintiff’ s Motion.

Plaintiff Has Provided Inadequate Documentation To Support The Billing
Rates

A party seeking fees bears the burden of establishing that the attorneys’ billing rates are

reasonable and reflect the prevailing market rate for lawyers engaged in the type of litigation in

2339489

-13-
__.

Case: 1:00-cv-08140gg¢cument #: 156 Filed: 07/23/04 Pag 9 of 36 PagelD #:349

which the fee is being sought. Cooper v. Casey, 97 F.3d 914, 920 (7th Cir. 1996); People Who

Care v. Rockford Bd. of Educ. Sch.Dist., No. 205, 90 F.3d 1307, 1310 (7th Cir. 1996). Plaintiff
has not met his burden in this regard. In support of the billing rate for Mr. DeBofsky of
$300.00 . $375.00 an hour, Plaintiff submitted two affidavits — one from an attorney in |
Washington, D.C. and the other from an attorney in California. See Tabs 7 and 8 of Plaintiff's
Motion. Defendants object to the affidavits because the declarants are attorneys who do not
practice in the Northern District of Illinois. Both affiants opine that Mr. DeBofsky’s rates are
reasonable considering his level of expertise, but neither affidavit however states that

Mr. DeBofsky’s rates are comparable to the market rates in the Chicago area, or even whether
the affidavits have the basis of knowledge to make such an assertion. Plaintiff seems to rely on a
so-called “national rate” for ERISA attorneys. This flies in the face of Seventh Circuit law,
which specifically provides that courts are to employ the “prevailing market rate.” Id.

Mr. DeBofsky tries to support his rates by provided his own self-serving affidavit. See Tab 6 of

Plaintiff's Motion. Under Seventh Circuit law, it is clear that Plaintiff cannot meet his burden

with such an affidavit. Spegon v. Catholic Bishop of Chicago, 175 F.3d 544, 554 (7th Cir. 1999) |
(“An attorney's self-serving affidavit alone cannot satisfy the plaintiffs burden of establishing
the market rate for that attorney’s services.”) Accordingly, Plaintiff has failed to establish a
reasonable rate for Mr. DeBofsky.

Plaintiff's documentation for the rates charged by Gardner, Carton & Douglas is even
more inadequate. Plaintiff supports these rates with an affidavit from one of the firm’s own
attorneys, Mark Furlane. See Tab 5 of Plaintiff's Motion. Apparently Gardner, Carton, &
Douglas could not find any third party to vouch for the reasonableness of its rates. Again, such

an affidavit is completely inappropriate. Spegon, 175 F.3d at 554. Not surprisingly, Mr. Furlane

2339489 -14-

dk

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 20 of 36 PagelD #:350

aA

opines that his rates and the rates of the attorneys at his firm are reasonable. He supports this
assertion by stating that the firm annually performs analyses of the market rates in the Chicago
area, however, Mr. Furlane does not provide the results of these market studies. Therefore, it is
impossible to tell if the studies were fair and accurate, or if the firm’s rates are even comparable
to the market rates that were found in the studies. Moreover, Mr. Furlane attests that the firm
undertakes these studies and then assigns billing rates, but no where in the affidavit does

Mr. Furlane state that the assigned billing rates are on par with the market rates. This is no

different from the self-serving affidavit in Schnuckel v. The Prudential Ins. Co. of Am., wherein
the attorneys seeking their fees stated that they were familiar with the “customary and reasonable
rates of partners in Chicago and their rates were reasonable and the market rate.” 2003 WL
21877632 at *1 (N.D. Ill Aug. 7, 2003). There, Judge Plunkett found documentation entirely
inadequate, and he lowered the rates significantly. Id. at *2 (lower from $250 to $125 and from
$250 to $215). Likewise, this court should lower the rates charged by the Gardner, Carton &
Douglas law firm, and Defendants would suggest lowering the rates to rates that are comparable
to those charged by Defendant’s attorneys. See Exhibit 1 attached hereto.

Defendants also object to the affidavit because it does not detail the level of experience or

‘knowledge of the attorneys at Gardner, Carton & Douglas. Mr. Furlane states that he has been

practicing since 1975, but he makes no representations regarding his experience with ERISA
actions or even his litigation experience. As for the other attorneys in the firm, there is nothing
to indicate their levels of experience or expertise. In fact, one cannot tell who is a partner and

who is an associate, and from a note on an invoice it appears that Ms. Bentz and Mr. Goetz were

2339489 ~15-
" Case: 1:00-cv-03140 Dgaiy nent #: 156 Filed: 07/23/04 Page -~ 36 PagelD #:351

™ very inexperienced.° What is more, Sally A. Comin, an attorney listed on the summary, is not
| even mentioned in the affidavit.
B. Plaintiff Provided Inadequate Documentation To Support The Amount Of

= Fees Requested

ri Although Plaintiff has requested $459,479.25 (minus a $50,000 write-off) for attorneys’

fees incurred by Gardner, Carton & Douglas, he has provided no valid documentation supporting -

this amount. The “Summary of Charges” lists $459,479.25 in fees, but this is a prepared

" - summary with no indication as to the source of this figure, The “Billing and Payment History,”

dated December 22, 2003, indicates that only $334,785.93 was billed in fees; and the two

" oe spreadsheets, which actually provide a description of the work performed by the firm, only total

| Oo $314,973.08 in fees, In other words, there is a $144,506.17 discrepancy in the amount of fees
claimed by Gardner, Carton & Douglas. What is more, Plaintiff represented to Defendants that

" he paid this large amount of fees to Gardner, Carton, & Douglas.® Skeptical of the claim,

" Defendants asked that Plaintiff provide proof of payment, On June 22, 2004, Plaintiff faxed
Defendants copies of cancelled checks made payable to the firm that only total $262,094.74. See

™

Exhibit 2 attached hereto. As this amount presumably includes costs, it appears that Plaintiff

5 A $9,000 write-off was approved because “Mark [Furlane] felt the amount of time

¥
expended on the matter by Mona Benz (sic) and Ray Goetz was far in excess of what is
m A reasonable, given Mona and Ray’s lack of litigation experience .. . [and] the litigation aspects of
4 the project were beyond their experience.” (Emphasis Added). See Exhibit J attached to
Xerox’s April 2, 2004 letter found under Tab B of Plaintiff's Motion. The $9,000 write-off
m should be subtracted from the fee request, and fees incurred by Ms. Bentz and Mr. Goetz should
be further reduced.

6

Plaintiff has also argued in his brief that his payment of $340,000 in fees is evidence that
the amount of fees is reasonable. See, Plaintiff’s Memorandum at 7. First, Plaintiff has not

: demonstrated that he paid this amount in fees, Second, the fact that Plaintiff switched firms for
= the appeal, and paid significantly less for their service, suggests that Plaintiff did not feel the
rates were reasonable.

- 2339489 - 16-

A 6U6UFDDhU

_ dee

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 22 of 36 PagelD #:352

~

received a write-off that was more than $50,000. Plaintiff has claimed $19,342.81 for. expenses
incurred by Gardner, Carton & Douglas, and using the two spreadsheets that total $314,973.08, it
appears that the write-off for fees was closer to $72,221.1 5.’ Because only the two spreadsheets
provide any sort of description of the work performed, the Court should begin its analysis with
the amount reflected on these documents, $314,973.08, and then subtract $72,221.15 for the
write-off
1. Vague time entries should be subtracted or reduced

The documentation from Gardner, Carton & Douglas is riddled with vague. entries that do
not provide an adequate description of the work performed. Caselaw requires that time records
“clearly specify the worked performed, the date on which it was performed and the hours
expended.” Litchey v. Hartigan, 1991 WL 96435 at *4 (N.D. Ill. May 31, 1991) (citing Max M.
v. Illinois State Bd. of Educ., 684 F Supp. 514, 526 (N.D. Ill. 1988)). Vague descriptions fail to
provide the court with any basis to determine whether the attorneys’ work was necessary and
reasonable, therefore they should be significantly reduced or stricken. Stark v. PPM Am., Inc.,

2003 WL 21223268, at *5 (N.D. Ill. May 23, 2003). See also Harper v. City of Chicago Heights,

223 F.3d 593, 605 (7th Cir. 2000) (a district court may either strike the vague entries or reduce
the proposed fee by a certain percentage). More specifically, there are countless entries that note
conferences between and among the attorneys at Gardner, Carton & Douglas, but the subject
matters of many of these conferences are not noted. There are 99 entries, totaling 168.45 hours
and $37,851 78 in fees, with unspecified internal conferences or with conferences on such vague

topics as “status,” “the case,” or “the pleadings.” See Exhibit B attached to Xerox’s April 2,

? If one uses the $459,479.25 figure, for which there is no documentation, it would seem
Plaintiff received a $178,041.70 write-off, and not a $50,000 credit as Plaintiff has maintained.

2339489 -17-
~—ill

“3 SE.

3:

&

23 -§ a

——

Case: 1:00-cv-03140 at ment #: 156 Filed: 07/23/04 Page gay oF 36 PagelD #:353

2004 letter found under Tab B of Plaintiff's Motion. The Court should strike these entries.®

Abbott v. Village of Winthrop Harbor, 1999 WL675292, at *4 (N.D. Ill. Aug. 29, 1999). _

Defendants also object to the time spent reviewing “documents,” “the file,” “the record,”
“the docket,” “pleadings,” and “cases” or “caselaw” for no appareant reason. Within 111 of the
entries, amounting to 193.9 hours-and $46,751.32 in fees, attorneys at Gardner, Carton & -
Douglas spent time “review[ing]” such documents with no stated reason. See Exhibit D found
under Tab B of Plaintiff's Motion. Time spent reviewing documents without explanation should
not be compensated as it impossible to tell if such review was necessary and reasonably related
to the litigation.” The Court should discount each of these entries.

It is also remarkable that in many of the time entries the Gardner, Carton & Douglas
attorneys did not specify what motion, brief, response, or memorandum they were working on,
drafting or preparing. For example, on December 9, 2000, Mr. Furlane worked $.25 hours,
totaling $2,805.00 in fees, and he noted: “conference with Mr. Condron on brief; draft brief: .
review defendant's brief; research regarding summary judgment issues.” From this entry there

is no indication to which brief he was referring. One cannot ascertain whether Mr. Furlane was

working on the summary judgment or an entirely different brief. The Court should subtract or

8 Moreover, Defendants object to the amount of internal conferences that were held in

general. There are 254 entries, totaling 534.95 hours and $125,948.85 in fees, where attorneys at
Gardner, Carton & Douglas noted that they participated in internal conferences Defendants _
recognize that conferring with co-counsel is part of litigation, but 534.95 hours spent conferring
is excessive. See Exhibit C found under Tab B of Plaintiff's Motion. .

9 In addition, there are 215 entries, totaling 484.4 hours and $114,414.33 in fees, wherein
the timekeeper noted that he or she spent time “review[ing].” See Exhibit E found under Tab B
of Plaintiff's Motion. This amount of time for “review” is excessive and should be reduced or
stricken. —

2339489 -18-

a

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 24.of 36 PagelD #:354

discount each and every entry where the timekeeper did not specify what motion, brief, response,
or memorandum he or she was working on or preparing.
2. Block-billing should be subtracted or reduced

The vast majority of the entries from Gardner, Carton & Douglas are blocked-billed.
That is, without indicating the time spent for the individual tasks, the recorded time is an
accumulation of the amount of time spent on various tasks during the course of a day for a
particular timekeeper. Biock-billing is improper for two principal reasons, First, the Court
cannot perform the required legal analysis to determine whether the time devoted to particular

tasks or issues was reasonable or excessive. Cristancho v. National Broad. Co., 117 F.R.D. 609,

610 (N.D. Til. 1987); JMS Dev. Co. v. Bulk Petroleum Corp., 2002 WL 31101664, at *3 (N.D.
Ill Sept. 19, 2002) (“[b]lock billing is inappropriate and prevents the Court from assessing the
reasonableness of the time expended on certain tasks.) Second, “it prevents the Court from
determining the amount of time spent on compensable versus non compensable tasks.” Kinney

v. Federal Sec., Inc., 2002 WL 31017644, at *6 n. 6 (N.D. Ill. Sept. 9, 2002).

The Gardner, Carton & Douglas bills are littered with entries that are block-billed. For
example, on November 7, 2000, Mr. Furlane billed 6.5 hours for:

Conference with associate on motion to compel; telephone conference with Xerox
attorney for 12k conference; draft motion to compel; attention to prepare for and attend
hearing on motion to quash and 12k conference with HI attorney.

On November 16, 2000, Mr. Roche recorded 7.9 hours for:

Draft, review and revise memorandum in support of motion to compel and
memorandum in support of motion for summary judgment; review documents, the
purported record, pleadings and correspondence relating to the memoranda;

research and review cases to support the memoranda.

And on March 7, 2001, Mr. Roache recorded 8.3 hours for:

2339489 -19-
ull

2 _A

dL

+ * B

Case: 1:00-cv-03140 gpcument #: 156 Filed: 07/23/04 Padang of 36 PagelD #:355

Conference with Mr.{ ]Condron regarding motions to be filed in response to

supplemental affidavits; conference with Messrs.[ ]Condron and Howell

regarding limitations on the right to amend ERISA plans; draft, review and revise

motion to strike and supplemental response in opposition to defendants’ motion

for summary judgment; review documents pleadings and affidavits relating to

supplemental memorandum, research and review cases to support supplemental

memorandum; limitations to amend ERISA plans and what language is required

to give plan administrator discretion.
Time spent on unsuccessful issues, such as the motion to compel, should not be reimbursed. See
discussion infra. But from these blocked entries it is impossible to tell how much time was
actually spent on non-compensable issues. It is also impossible to tell if the time spent on
various tasks were reasonable. It is Plaintiff's burden to adequately document his fee request,
and he has failed to do so. The Court should strike these fees in their entirety or they should be
significantly reduced. Bennett v. Smith, 2002 WL 169323, at *5 (N.D. Ill. Feb. 1, 2002), Abbott,

1999 WL 67592, at *3; Cristancho, 117 F.R.D. at 610; In re Chicago Lutheran Hosp. Assoc., 89

B.R. 719, 735 (Bankr. N.D. Ill, 1988). See Exhibit A found under Tab B of Plaintiff's Motion,
where the blocked billed time entries highlighted.

Cc. Plaintiff Should Not Be Awarded Fees For Time Spent On Non-Meritorious
Claims

Plaintiff was successful in regard to only one of the issues he raised. Under binding

precedent, the Court should subtract the time Plaintiff's attorneys spent on unsuccessful claims,

or it should proportionately reduce the amount of fees Plaintiff is requesting based on his limited

success. Hensley, 461 U.S. at 434; Moriarty v. Svec, 233 F.3d 955, 968 (7th Cir. 2001)

(“proportionality concerns are a factor in determining what a reasonable attomey’s fee is.”)

Plaintiff's counsel devoted numerous hours to issues that proved to be wholly meritless and

downright frivolous. Due to Plaintiff's actions, Defendants were required to incur unnecessary

2339489 . -20-

Le ek

8

.Case: 100-0v-0314g Qocument #: 156 Filed: 07/23/04 Palle of 36 PagelD #:356

fees addressing these issues as well and they should not be penalized twice for Plaintiff's
unreasonable approach to this litigation.

As discussed above, this Court ruled in Defendants’ favor on all outstanding issues and

the Seventh Circuit reversed on the sole issue of the adequate termination determination. The

majority of the issues raised by Plaintiff were either without authoritative support such as:
judicial estoppel, vesting, accrual, standard of review, what constituted the Plan documents,
record requirements, and the alleged conflict of interest; or they were wholly unrelated to the:
issue upon which he prevailed such as: the so-called failure to provide Plan documentation and

breach of fiduciary duties. To the extent possible, the Court should subtract the number of hours

Plaintiff's attorneys worked on these issues; Bennett, 2002 WL 169323 at *6 (subtracting fees
for unrelated, unsuccessful claims); or, in the alternative, the Court should discount the award -
proportionately to reflect his limited success. Spegon, 989 F. Supp. at 990 (cutting lodestar
figure in half). Considering that the time spent on these issues, (by defense counsel, the Courts
and Plaintiff's counsel), was grossly disproportionate compared to the time spent on the one
issue on which he did prevail, Defendants would suggest a 80 percent reduction. °

At the very least, the Court should subtract fees that were incurred in pursuit of

discovery. See Exhibit M found under Tab B of Plaintiff's Motion. The case was pleaded as an

ERISA case, and Plaintiff's counsel should have been aware that discovery is limited in ERISA

cases. In spite of this fact, Gardner, Carton & Douglas pursued discovery, which the District

Court ultimately ruled was improper.

10" See also the highlighted entries of Exhibit O, found under Tab B of Plaintiff's Motion,
for time spent on issues on which Plaintiff did not prevail.

2339489 -21-

3 Le

“sa

i . i Lm Oe

“

all

Case: 1:00-cv-03140 Dacuiment #: 156 Filed: 07/23/04 Page 27 of 36 PagelD #:357

~ ~

D. The Amount In Fees Requested Is Utterly Unreasonable and Should Be
Reduced

1. The case was overstaffed

The case was entirely overstaffed. Over the course of three years, at least 13 different
attorneys worked on the case for Plaintiff. In addition, there were six paralegals, two librarians,
two law clerks, five proof readers, one docket clerk, and four persons whose titles are
undisclosed," Thirteen (or more) attorneys working on a case of this nature is complete overkill.
Even if you subtract those persons who billed less than $2,500 on the case, there were still six:
attomeys who billed more than $2,500 on this case, based on the two narrative spreadsheets, (see
Exhibit G found under Tab B of Plaintiff’s Motion), or 10 attorneys, using Plaintiff's “Summary
of Charges”.

Overstaffing resulted in redundant efforts that should not be compensated. Throughout
the bills from Gardner, Carton & Douglas there are examples of duplicated work. For example
in the fall of 2000, Ms, Bentz, Mr. Condron, Mr. Goetz, Mr. Roache, and Mr. Furlane were all
working on the case, and, in fact, all five were working on the response to Defendant’s motion
for summary judgment. Defendants submit that this work was duplicative and only served to run
up the cost of litigation. As other examples, five attorneys participated in drafting the complaint,
four attomeys worked on the motion to compel, and four attorneys worked on the discovery _

requests. These efforts were entirely redundant and duplicative.

q From the Gardner, Carton & Douglas law firm, Sally A. Comin is listed on the
“Summary of Charges” and Dale Park and Michael Rhoades are listed on the in the bills, yet -
these three individuals are not referenced in Mr. Furlane’s affidavit where he differentiated
between the attorneys and support staff. On the bill from Daley, DeBofsky, & Bryant, there are
three entries for “Nate,” with no indication as to who Nate is. Also, Defendants object to the
duplicative time entry for “Nate” on June 28, 2002, oe

2339489 . 22-
2 . «4

i

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Pad iag® of 36 PagelD #:358

Because the case was overstaffed, not only was repetitive work being done, but the
attorneys were not used efficiently. Each new attorney who joined in the litigation. was required

to familiarize himself or herself with the facts of the case and relevant caselaw. As discussed

above, there were hundreds of hours devoted to reviewing the file, documents, and cases.

Overstaffing could account for some of these hours. In addition, the fact that there were so many

attorneys working on the case could also account for why it took so many hours to complete
some of the basic tasks of litigation, and why there were so many internal conferences.
Defendants submit that this case could have and should have been staffed with a partner and one-
or two associates. Accordingly, it is Defendants’ position that the fees should be reduced by at
least two-thirds. The fact that Plaintiff deemed it necessary to retain new counsel for the appeal —
is also a fact that should not be ignored as a commentary on the quality (and perhaps quantity) of .
the representation he received before the district court.

Defendants also object to the fact that Plaintiff hired another law firm to work on his
appeal and the Court should discount the fees accordingly. Upon taking the case, the new firm

was required to familiarize itself the facts of the case and the record on appeal. Therefore, the

Court should cut the time Mr. DeBofsky spent reviewing the file and the appellate record, which -

amounts to 13.8 hours and $4,140.00 in fees. Defendants also believe that they should not be
required to pay the fees of two law firms during the appellate process. Consequently, the Court
should strike $8,100 in fees incurred by Gardner, Carton & Douglas following Mr. DeBofsky’s
entry of appearance, (see Exhibit H found under Tab B of Plaintiff's Motion), and the appellant
work by Gardner, Carton & Douglas that was duplicated by Daley, DeBofsky & Bryant. See the .

highlighted entries of Exhibit I found under Tab B of Plaintiff's Motion.

2339489 -23-

_* <2

--

a

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Pail 29 of 36 PagelD #:359

2. The time recorded is patently unreasonable

Gardner, Carton & Douglas was entirely inefficient in accomplishing the basic tasks of

- litigation. Each step in the litigation was staffed by multiple attorneys, who devoted dozens, if
- not hundreds, of hours to the routine tasks of litigation. “It may well be that counsel’s failure to

- implement cost-controls, billing monitoring, or proper delegation resulted in constant activity

within the hive, but the opposing party . . . should not have to pay for such churning.” Pearson Vv.

‘Edgar, 1999 WL 169415, at *3 (N.D. Ill. Mar. 22, 1999). The Court should reduce Plaintiff's

- fee request by not less than $350,000 on account of the excess billing. Sullivan v. Gill, 2000 WL

. 263726, at *2 (N.D. Ill. Feb. 28, 2000) (cutting fee request in half in light of redundant and

excess billing). More than 1354.50. hours and over $300,000 in fees for an ERISA case

- challenging a denial of disability benefits is completely unreasonable and beyond the pale. See

Declaration of J. Timothy McDonald attached hereto as Exhibit 3 (“a reasonably experienced

_ERISA practitioner would have been able to prosecute this case though appeal and attain the

‘game result in 250 hours or less.”)

a. The Complaint
Perhaps most glaring is that fact that it took over 200 hours and more than $30,000 in
fees to get-a complaint on file. There were 176.9 hours devoted to the complaint and.14.9 hours

spent on drafting a chronology. See Exhibit K found under Tab B of Plaintiff's Motion. In fact,

- Gardner, Carton & Douglas racked up 206.85 hours and $32,733.37 in fees before the complaint

was even filed with the Court. See Exhibit L found under Tab B of Plaintiff's Motion. To put

the figure in perspective, the amount of money Gardner, Carton & Douglas spent on assembling

a complaint was one-third the amount of fees the Defendants spent on the entire case, including

the appeal. See Exhibit 1 attached hereto. Even allowing for the fact that one needs to

2339489 -24-

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 30 of 36 PagelD #:360
| :

familiarize oneself with the facts of the case and review documents before filing a complaint,

126 hours is an exorbitant amount of time for drafting a complaint, and the Court should reduce

‘the amount of time to no more than 12 hours. Riter v. Moss & Bloomberg, Ltd., 2000 WL

1433867 (N.D. Ill. Sept. 26, 2000) (reducing the time to draft a complaint from 14 hours to 5

" hours); Purnell v. Kovitz Shifin & Waitzman, 1996 WL 521401 (N.D. Ill. 1996) (finding 17

~ hours devoted to drafting a complaint to be excessive, the court reduced the time to eight hours). .

b. Service and Summons

Gardner, Carton & Douglas billed 11.65 hours and charged $2051.83 in fees to obtain

service on the Defendants. See Exhibit N found under Tab B of Plaintiff's Motion. The Court

S should strike this amount. As both Defendants are corporate entities, counsel need only have

» obtained the corporate addresses for the Defendant and hired a process server. Or, for that

’ matter, counsel could have requested that service of process be waived. At most, Plaintiff should

~ only be able to collect $200 for obtaining service.

c. Discovery

Plaintiff should not be reimbursed for fees incurred for discovery. This case was decided

: _on the administrative record, which Defendants provided, yet Gardner, Carton & Douglas billed
- 38.5 hours and incurred $11,304.53 in fees for undifferentiated discovery matters; 60.2 hours and
- $15,092.50 in fees for the motion to compel discovery; 56.8 hours and $13,632.50 in fees

- preparing subpoenas and responding to the motion to quash; and 39.45 hours and $7,884.00 in

- fees preparing discovery requests, including requests for admissions. The total amount spent on

. discovery was. 214.95 hours and $47,913.53 in fees. See Exhibit M found under Tab B of

Plaintiff's Motion. This entire amount should be subtracted from the fee request.

2339489 - 25 -
| oce 8 4

ss

Case: 1:00-cv-03140 Bacument #: 156 Filed: 07/23/04 Pa! of 36 PagelD #:361

d. Summary Judgment

As discussed above, it is difficult to tell how much time was devoted to summary
judgment due to block-billing and unspecified entries regarding work done on “motions” and
“briefs.” But in any event, Defendants object to the amount of time the firm spent preparing for
summary judgment in general, as it was unreasonable. Defendants calculate that Gardner,
Carton & Douglas spent 744.9 hours and incurred $182,685.25 in fees preparing for summary
judgment and 122.65 hours and $31,169 for the motions to strike, which were related to the
summary judgment motion. See Exhibits O and P found under Tab B of Plaintiff's Motion. This
amount is particularly excessive because the summary judgment was based solely on the

administrative record and Plaintiff lost on the majority of the issues he raised. See Schnuckel

2003 WL 21877632 at *2. The amount Plaintiff seeks in fees for summary judgment is twice the

amount of fees all the Defendants spent during the entire course of the litigation. Defendants

- object to the excessive amount of hours and believe that a reasonable amount of time for

Plaintiff's counsel to have spent on summary judgment should be comparable to the amount of
time Defendants devoted to summary judgment, which was.approximately 100 hours. See
Exhibit. 1 attached hereto. The Court should then discount the hours for Plaintiff's lack of
success on the numerous issues he raised.

IH. COSTS

It is unclear from the motion whether Plaintiff is seeking costs and expenses under Rule .
54(d)(1) of the Federal Rules of Civil Procedure or under § 502(g) of ERISA. In either event,
Plaintiff is only entitled to those costs provided for in 28 U.S.C. § 1920, which include the (1)
filing fees, (2) transcripts, (3) witness costs, (4) copies of documents necessarily obtained for use

in the case, (5) docket fees and (6) compensation of court-appointed experts and witnesses. See

2339489 -26-

lb

de

~~

a ll

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 32 of 36 PagelD #:362

~

Uphoff v. Elegant Bath, Ltd., 176 F.3d 399, 411 (7th Cir. 1999) (interpreting “costs of the

action” under FLSA with reference to § 1920); Agreendano v, Mutual of Omaha Co., 75 F.3d.

541, 544 (9th Cir. 1995) (finding the term “costs” under ERISA § 502(g) only allows for those

. costs set forth in § 1920); Holland v. Valhi, Inc., 22 F.3d 968, 978-80 (10th Cir. 1994) (same). —

A Bill of Costs for $1,119.15 was filed with the Seventh Circuit, which allegedly
represents the expenses incurred by the Daley, DeBofsky & Bryant firm for filing fees,
photocopying, and binding costs. Plaintiff has not adequately documented the copying charges,
and therefore the amount claimed should be reduced. Plaintiff failed to indicate how many
copies of the documents were made and for what purpose. This information is required so that
the Court can determine whether the copies were necessary for the case, or whether they were
made for the convenience of the attorneys. Independence Tube Co. v. Copperweld Corp., 543 F.
Supp. 706, 722 (N.D. Hl. 1982). And, as discussed below, the $105.00 for the filing fee isa
duplicate entry.

Plaintiff has requested $19,342.81 for costs and expenses that the Gardner, Carton &
Douglas firm incurred. Plaintiff provided no summary of the costs he is seeking. Instead the
December 22, 2003 spreadsheet lists $19,342.81 in disbursements but provides absolutely no
description of the actual expenses. There are individual invoices with costs and expenses, but
these invoices only total $18,570.61, for costs and expenses, See Exhibit 4 attached hereto. In

addition, they are inadequate as documentation, and Plaintiff has requested compensation for

fees that are not reimbursable.

More specifically, Plaintiff has not provided sufficient information to support his copying
costs. There are dozens of copying charges that do not specify the rate per page or what was

being copied. Northbrook Excess & Surplus Ins. Co. v. Proter & Gamble Co., 924 F.2d 633, 643

2339489 -27-
a

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Pa of 36 PagelD #:363

(7th Cir. 1991); McClain v, Owens-Corning Fibergiass Corp., 1663 WL 650524, at *5 (N.D. Ill.
1996). As the copying charges are not documented, they should be stricken. Furthermore, the .
amount of photocopying expenses is outrageous. Plaintiff either copied a massive amount of
documents or the rate was exorbitant. In either event, the amount of photocopying costs is
entirely excessive for a case of this nature, and the Court should strike $7,846.11 in
photocopying expenses and $410.00 in binding fees.

There are additional expenses noted on the invoices for which Plaintiff would be entitled

to reimbursement had Plaintiff explained why incurring the expense was necessary. For

example, Plaintiff paid $379.75 for transcripts and $72.00 in court reporter fees, yet Plaintiff has

not explained what transcripts were requested or why. Consequently, the Court should deduct
these expenses from the Bill of Costs, Plaintiff had also requested that he be reimbursed for
court filing fees. Normally, filing fees are a reimbursable expense, however, Defendants are
puzzled as to why Plaintiff has requested reimbursement for four court filing fees. Plaintiff filed . -
suit in this District on May 23, 2000, which would account for the $150.00 billed on the June 26,
2000 invoice. Plaintiff then filed an appeal with the Seventh Circuit. Gardner, Carton &
Douglas billed $105.00 for the Seventh Circuit’s filing fee twice, once on the November 15,
2001 invoice and a second time on the December 7, 2001 invoice. Daley, DeBofsky & Bryant
has also claimed the $105.00 filing fee on its bill of costs. Such double and triple billing is not
only inappropriate, but is potent evidence that Gardner, Carton & Douglas’s statements are not
credible or reliable. Consequently, at the least $210.00 should be subtracted from the amount of -
costs Plaintiff is seeking.

Defendants also object to expenses that are not reimbursable. Under Seventh Circuit law,

electronic or computerized research is not compensable, Haroco v. American Nat’! Bank &

2339489 - 28 -
it dl

coud.

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 34 of 36 PagelD #:364

/

Trust of Chicago, 38 F.3d 1429, 1449-41 (7th Cir. 1994); Harkin v, Riverboat Serv., Inc., 286 F.

Supp. 2d 976, 983 (N ‘D. Ill. 2003). In light of the resources that are now available, it is common.
practice that clients no longer pay for research in electronic databases. Therefore, the Court
should strike the $5,652.31 in Westlaw fees and $1,113.74 in Lexis fees. The Court should also
strike charges for the following non-reimbursable expenses: $163.45 for “local transportation,”

such as cab fares to the courthouse; $401.55 in messenger services, and $240.42 in overnight

delivery charges. Stark, 2003 WL 21223268 (citing to Wahl v. Carrier Mfg., 511 F.2d 209, 217

(7th Cir. 1975)); see also Keifel v, Las Vegas Hacienda, Inc. 404 F 2d 1163, 1170 (7th Cir.

1968). Furthermore, Defendants cannot be held accountable for $1,130.30 for facsimiles, $71.33
in general telephone bills, and $2.75 for postage. Id.

In addition, there are expenses for which Plaintiff seeks repayment, but with which
Defendants are not familiar. Plaintiff had provided no description of the services or why they.

were necessary, and therefore, the Court should strike the following amounts: $204.94 for

“Primark,” $35.41 for “Dialog,” $223.55 for “Courtlink,” and $7.00 for “CDB Infotek.”

CONCLUSION

Plaintiff has failed to established that he is entitled to attorneys’ fees and costs...
Defendants did not defend this lawsuit in order to harass Plaintiff or for no good reason.
Defendants litigated this case in good faith and their positions were substantially justified.
Therefore, under Seventh Circuit law, Plaintiff cannot meet his burden and the Court should
deny Plaintiff's motion for fees and costs. But if the Court were to determine that Plaintiff is
entitled to a fee award, which it should not, the amount Plaintiff is requesting should be
significantly reduced. Plaintiff's documentation is inadequate and internally inconsistent.

Plaintiff's counsel not only billed excessively, but they also caused Defendants to incur.

2330489 . - 29 -
dit il

if

Case: 1:00-cv-03140 Document #: 156 Filed: 07/23/04 Page 35 of 36 PagelD #:365

uC “

substantially more in fees than was necessary. Among other things, Plaintiff filed repeated
. discovery requests and motions to compel, some of which were filed after the Court already had
» made clear that discovery was not proper in this ERISA case. Plaintiff also took extreme

-- positions that simply were not well founded in either the law or the facts. If the Court were to

award any fee to Plaintiff, it would be unreasonable to award more than $25,000.

In general, Defendants are shocked by the amount of fees requested by Plaintiff's

- counsel. In light of the fact that Defendants spent less than a fourth of the amount of fees

defending this suit, Plaintiff's request is patently unreasonable. For the myriad of reasons
discussed above, Defendants object to the fees requested. This Court should deny Plaintiff's
request for attomeys’ fees in its entirety. In the alternative, the amount of fees and costs should
be significantly discounted.

Respectfully submitted,

_THO ON COBURN LLP

Richard J. Pautler, #03
One US Bank Plaza
St. Louis, Missouri 63101
314-552-6000

FAX 314-552-7000

Attorneys for Defendants Xerox Corporation
Long-Term Disability Income Plan, Xerox Corporation

CHARYSH & SCHROEDER, LTD

Attorneys for Health International, Inc.

2339489 -30-
«5 "Case: 1:00-ev-oa14ggocument #156 Filed: 07/23/0qlgage 36 of 26 PagelD #300 SD

